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 9
                          UNITED STATES DISTRICT COURT
10
                         CENTRAL DISTRICT OF CALIFORNIA
11

12   VITALY IVANOVICH SMAGIN                     CASE NO. 14-cv-09764-R (PLAx)
13         Petitioner,                           Before the Honorable Manuel L. Real
                                                 United State District Judge
14         v.
                                                 DECLARATION OF ASHOT
15   ASHOT YEGIAZARYAN,                          YEGIAZARYAN IN OPPOSITION
                                                 TO APPLICATION FOR WRIT OF
16         Respondent.                           ATTACHMENT
17
                                                 Hearing Place:     Courtroom 8
18                                               Hearing Date:      March 21, 2015
                                                 Hearing Time:      10:00 a.m.
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                          DECLARATION OF ASHOT YEGIAZARYAN
30               IN OPPOSITION TO APPLICATION FOR WRIT OF ATTACHMENT
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 1                     DECLARATION OF ASHOT YEGIAZARIAN
 2                I, Ashot Yegiazaryan, do hereby declare as follows:
 3         1.     I am the named respondent in this action. I have personal knowledge of
 4   the facts declared herein and could and would competently testify thereto in a Court of
 5   Law if required to do so.
 6              Personal Background and Profession as a Legislator Until 2011
 7         2.     I became involved in Russian government and political activities in the
 8   second half of the 1990s. In 1996, I took part in organizing the financing of Boris
 9   Yeltsin's ("Yeltsin") presidential campaign. In 1997, I was an advisor for the Russian
10   Central Bank (the Russian equivalent of the U.S. Federal Reserve).
11         3.     At the time, I also served as an advisor on a pro bona basis for Yuri
12   Maslyukov, the First Deputy Prime Minister.
13         4.     In 1999, I was elected to the State Duma. I was reelected to the State
14   Duma in 2003 and 2007. During my time as a Deputy of the State Duma, I was
15   appointed to various positions including deputy chairman of the Committee on Budget
16   and Taxes, deputy chairman of the Commission to Promote a Political Settlement and
17   Adherence to Human Rights in the Chechen Republic and a member of the
18   Commission on the State Debt of the Russian Federation.
19         5.     I began to fall out of political favor around 2005, largely because I was
20   allied with the former Prime Minister Mikhail Kasyanov and my association with him
21   was perceived as a sign of disloyalty.
22              Investments in Russia and Disputes with Connected Individuals
23         6.     Although I was a legislator by profession between 1999 and 2010, I did
24   make some investments during that time. Those investments included at least two real
25   estate projects: the Europark Shopping Center and the Moskva Hotel.
26         7.     Other investors in the Moskva Hotel included the City of Moscow,
27   Vladimir Putin’s long-time judo partner Arkaday Rotenberg and Validimir Putin’s
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                                                 1
29                         DECLARATION OF ASHOT YEGIAZARYAN
                     IN OPPOSITION TO MOTION FOR SUMMARY JUDGMENT
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 1   former masseuse Konstantin Goloschapov.
 2         8.      After I fell out of political favor with the political authorities in Russia,
 3   certain partners pressured me to surrender my investment in the Moskva Hotel. When
 4   I refused to quietly give up my investment, I was subjected to various forms of official
 5   and unofficial harassment. Ultimately, I filed an arbitration award in the London Court
 6   of International Arbitration against high-ranking individuals within the Russia
 7   government.
 8                      Flight from Russia in the Face of Death Threats
 9         9.      I left Russia in the summer of 2010, in large part because I began
10   receiving threats of reprisal to 'stay away' from the Moskva Hotel Project. I reported
11   these threats to the Russian police but they took no serious action. This was long
12   before I was named as a suspect in respect of any alleged charges and long before the
13   Russian arrest warrant was issued. These threats included threats against myself and
14   also my family, such as threats to behead my children. A family member of mine was
15   killed in Russia in 2010 and I believe it was done to send me a message.
16         10.     Attached hereto as Exhibit 1 are true and correct copies of reports I filed
17   with the Russian police relating to the threats against myself and my family.
18                            Politically-Motivated Arrest Warrant
19         11.     While I was in the United States, and after I filed my affirmative claims in
20   London, the Russian authorities in October 2010 took moves to strip me of my
21   parliamentary immunity, summoned me for questioning and placed me on a wanted
22   list. Placing me on the wanted list was improper, because this may be done only where
23   a person's whereabouts are unknown, whereas I had promptly informed investigators
24   of my address in the United States and my safety concerns about returning to Russia.
25   Investigators dismissed my lawyers' objections out of hand and published a notice
26   through INTERPOL.
27         12.     Unfortunately, it is my understanding that INTERPOL is little more than a
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29                         DECLARATION OF ASHOT YEGIAZARYAN
                     IN OPPOSITION TO MOTION FOR SUMMARY JUDGMENT
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 Case 2:14-cv-09764-RGK-PLA        Document 50-3     Filed 02/24/16   Page 4 of 31 Page
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 1   clearing house for arrest and extradition requests from foreign countries, such that it is
 2   open to abuse. As noted in the Economist article attached hereto as Exhibit 2, Russia is
 3   particularly notorious for this practice. In any event, an INTERPOL notice is not
 4   evidence of guilt and INTERPOL itself emphasizes that persons subject to INTERPOL
 5   notices enjoy a presumption of innocence. I note that the United States (where I
 6   currently reside) has not acted on Russia's request.
 7         13.    I wish to inform the court that I have no confidence in the Russian
 8   criminal investigation or my safety if I were to return to Russia. The Economist article
 9   mentioned above refers to the notorious Russian case of Sergei Magnitsky as a
10   particularly acute example of the abuse of Russian criminal proceedings. That case
11   involves allegations that the Russian officials investigating the case forged documents
12   and stole money from the persons under investigation. After one of the accused's
13   lawyers, Sergei Magnitsky, complained about these abuses, he was thrown in prison
14   where he died; it is alleged that he was subjected to abuse in prison and that is why he
15   died. This case has been the subject of censure by the European Parliament and the
16   United States Congress, the latter of which imposed sanctions on a number of Russian
17   officials involved in the investigation.
18         14.    In this respect, I also wish to note that no less than seven of the Russian
19   officials involved in my investigation also handled the Magnitsky case, and five of the
20   officials involved in my case (Aleksey Droganov, Victor Grin, Oleg Logunov, Andrei
21   Krechetov and Andrei Strizhov) have been placed under sanctions by the U.S. State
22   Department for their involvement in the Magnitsky case.
23                   Continuous Objection to the Forged 2008 Agreement
24         15.    In 2010, Mr. Smagin initiated an arbitration against me, claiming various
25   grounds for jurisdiction including a claim that I signed a certain 2008 agreement
26   including an arbitration clause.
27         16.    I did not sign that agreement. It is forged. I have consistently objected to
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29                         DECLARATION OF ASHOT YEGIAZARYAN
                     IN OPPOSITION TO MOTION FOR SUMMARY JUDGMENT
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     Case 2:14-cv-09764-RGK-PLA      Document 50-3     Filed 02/24/16   Page 5 of 31 Page
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       the various grounds, including objecting to the forged document.
 2           17.     I have also continually objected that the 2008 Agreement would not
 3     provide the arbitrators with jurisdiction over the dispute even if it were genuine. That
 4     agreement covers a number of topics that include, but are not limited to, topics
 5     addressed in two earlier (undisputed) agreements to which I was not a signatory or
 6     party: a 2006 Shareholders' Agreement and a 2007 Escrow Agreement. Of particular
 7     importance, Articles 2.1 to 2.4 of the purported 2008 agreement referred to actions
 8     supposedly to be taken in furtherance of the 2006 Shareholders' Agreement and the
 g     expired 2007 Escrow Agreement. If the agreement had been signed, within the context
10     of the prior agreements, Section 2.10 would only have meant that Mr. Smagin had the
11     right to pursue Kalken Holdings, Ltd. under the pre-existing arbitration agreements in
12     the agreements to which I was not a party.
13                 Mr. Smagin Initiated the Freezing Order Against Me in Russia
14           18.     In connection with his claims against me, Mr. Smagin has filed a civil
15     claim within the criminal claim against me. A true and c01Tect copy of that claim
16     (along with an English translation) is attached hereto as Exhibit 3.
17

18           I declare under penalty of perjury, under the laws of the State of California and
19     the United States of America, that the foregoing is true and c~~:E~fL~d that this
20     declaration was executed on February 24, 2016 in Los Angel~s <;oli'n,ty, California.
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22                                                            As ~ ot egiazaryan
23                                                            (also spelled Ashot Egiazaryan)
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                             DECLARATION OF ASHOT YEGIAZARYAN
                       IN OPPOSITION TO MOTION FOR SUMMARY JUDGMENT
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             EXHIBIT
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  Ashot Yegiazaryan Decl., Exhibit 1,
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                                                 ID #:1486




                                                                             231037

                                                        ORDER

                            to commence a criminal investigation and allow it to proceed

   City of Moscow                                                                                09 February 2010

                                                                                                     H hours 00 mins

          Police captain N.Yu. Gulyayeva. investigator (interrogating officer) of the Investigations
   Office of the Tverskov District Department of Internal Affairs of tbe Citv of Moscow,
          having examined notification of crime KUS-2406 dated 9/2/2010, which was received according to
   statements

                                             HAS ESTABLISHED THAT:

            On 20 January 2010 at about 15:00, an individual unknown to the investigation, having the intent
   to make a threat of murder with respect to A. G. Egiazaryan, member of the RF State Duma, made a call
   to the subscriber number in the latter's office, which is located at: 1 Okhotny Ryad, office 718. Moscow,
   and threatened A. G. Egiazaryan with murder, saying "if he tries to get involved with the Hotel
   Moscow, they will cut off his and his family's heads." after which, continuing his criminal intent aimed
   at making a threat of murder, he made calls to the above-mentioned number on 21.01.2010 and
   22.01.2010 with threats of murder to the latter, saving "thev will tear off his and his family's heads", as
   a result of which A. G. Yegiazarvan took these threats seriously, and therefore the actions ofthe
   undetermined individual have the attributes ofthe crime specified by art. 119(1) of the RF Criminal
   Code.
            Considering that there is sufficient data pointing toward attributes of crime stipulated by Art. 119 Section
   1 of the Criminal Code of the Russian Federation, and taking guidance from Articles 140, 145, 146 (147), Art.
    156(1) and Art. 157(1) of the RF Criminal Procedural Code,

                                                HAS ORDERED THAT:
            ). A criminal investigation into the indications of a criminal offence under Art. 119(1) of the Criminal
   Code of the Russian Federation be commenced.
           2. A criminal investigation of the actions which exhibit attributes ofa criminal offence under Art. 119(1)
   of the Criminal Code of the Russian Federation be commenced.
           3. The criminal case proceeds and commences its investigation.
           4. A copy of this order is forwarded to the Prosecutor General of the Tverskoy District ofthe City of
   Moscow.

   Investigator (interrogating officer)                                                               fsignature]

         A copy of this order was forwarded to the prosecutor of the Tverskoy district of the City of Moscow on 9
   February 2010 at 17:10.

            The applicant and the individual with respect to whom the criminal case is commenced have been
   notified of the decision made.

   Investigator (interrogating officer)                                                                [signature]




  Ashot Yegiazaryan Decl., Exhibit 1,
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  Ashot Yegiazaryan Decl., Exhibit 1,
  Page 8
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        Appendix 53

                                                          Order to
                                                Acknowledge an Aggrieved Party

        Moscow                                                                                            18 February 2010
        (ptepaved at)

                Police Captain N. Yu. Giilyaveva. investigator (interrogating officer) of the Investigations
        Office of the Tverskoy District Internal Affairs Department, City of Moscow,
                              (dassificalion or lille, last name, and initials or investigator (interrogating officer)                               i
                                                                                                                                                     j
        having reviewed the files of criminal case No. 231037,                                                                                       1


                                                             established that                                                                        i

            On 20 January 2010 at about 3:00 p.m., an individual unknown to the investigation, having the
        intent to make a threat of murder with respect to A. G. Eeiazaryan, member of the RF State Duma,
        made a call to the subscriber number in the latter's office, which is located at: 1 Okhotny Ryad. office
        718, Moscow, and threatened A. G. Egiazaryan with murder, saving "if he tries to get involved with
        the Hotel Moscow, thev will cut off his and his family's heads." after which, continuing his criminal
        intent aimed at making a threat of murder, he made calls to the aforenamed number on 21/01/2010
        and 22/01/2010 with threats of murder to the larter. saving "thev will tear off his and his family's
        heads." as a result ofwhich A. G. Yegiazaryan took these threats seriously, and therefore the actions
        ofthe undetermined individual have the attributes of the crime specified by art. 1190) of the RF
        Criminal Code.
                                          (slate the basisfordeeming the person an aggrieved party)

        On the basis ofthe above and given that Ashot Gevorkovich Egiazarvan

                                              (last name, first name, patronymic or the individual

                                            or name ofthe legal entity deemed the aggrieved party)

        suffered emotional distress,

        taking guidance from art. 42 of the RF Code of Criminal Procedure,

                                                               ordered that:

              Ashot Gevorkovich Egiazarvan be deemed an aggrieved party
                                (last name, first name, patronymic of the individual or name ofthe legal entity)
         under criminal case No. 231037, of which he (she) shall be notified and sign the notification form.
         Investigator (Interrogating Officer)                                                 [signaturel
                                                                                                                         (signature)




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                  This order was announced to me on 18 February 2010 and the rights of the aggrieved party
         specified by art. 42(2) of the RF Code of Criminal Procedure were explained at the same time as
         follows:
                  1) know the indictment against the accused;
                  2) give testimony;
                  3) refuse to testify against myself, my wife (husband), and other close relatives as defined by
         art. 5(4) of the RF Code of Criminal Procedure. If I agree to testiiy, I have been warned that my
         testimony may be used as evidence in a criminal case, including i f l later repudiate that testimony;
                  4) enter evidence;
                  5) enter motions and challenges;
                  6) testify in my native language or a language in which I am proficient;
                  7) use the services of an interpreter at no charge;
                  8) have counsel;
                  9) participate, with the permission ofthe investigator or interrogating officer, in investigative
         actions carried out on the basis of my motion or the motion of my counsel;
                   10) review the records of investigative actions taken with my participation and comment
         those;
                   11) review the order requesting forensic review and expert opinion in cases specified by art.
          198 ofthe RF Code of Criminal Procedure;
                   12) review all criminal case files upon conclusion ofthe preliminary investigation, copy out
         any information in any amount from the criminal case, and make copies of criminal case files,
         including using equipment. If several aggrieved parties are involved in the criminal case, I am entitled
         to review the criminal case files that pertain to the harm done to me personally;
                   13) obtain copies of orders initiating a criminal case, deeming me aggrieved or refiising to do
         so, closing the criminal case, and suspending the criminal case, and copies of the lower court's verdict
         and of rulings of appeal and cassation courts;
                   14) participate in the trial of the criminal case in courts of thefirst,second and supervisory
         levels;
                   15) present pleadings;
                   16) support the indictment;
                   17) review the transcript of the court session and comment on it;
                   18) appeal the actions (inaction) and decisions of the interrogating officer, investigator,
         prosecutor or court;
                   19) appeal a verdict, judgment or determination of a court;
                  20) learn of appeals and propositions entered in the criminal case and make objections to
         those;
                  21) petition for protection pursuant to art. 11(3) of the RF Code of Criminal Procedure;
                  22) exercise other authority specified by the RF Code of Criminal Procedure.

         Aggrieved party                                   ^fsignaturel
                                                                    (signature)
         The investigator (interrogating officer)
         who read the order and explained the rights        ^Fsignaturel
                                                                     (signature)
         1 have received a copy of this order                18 February 2010

                                                            ^fsignaturel
                                                             (signature of the aggrieved party)




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   1/1812015                                         Abusing Interpol: Rogue states I The Economist




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          Abusing Interpol

          Rogue states
          Cross-border policing can be political
          Nov 16th 2013 I From the print edition

          FOUR years ago this week the whistle-blowing accountant Sergei Magnitsky died in jail from
          beatings and abuse, having uncovered a $23om fraud against the Russian state. His client
          Bill Browder, a London-based financier, has been campaigning to punish those responsible
          with visa bans and asset freezes. But the Russian authorities have retaliated and are trying to
          extradite him on fraud charges, using Interpol, the world police co-operation body.

          No Western country is likely to send Mr Browder to Moscow. But his travel plans are stymied
          by the risk of arrest . He had to cancel a visit to Sweden last month to talk to a parliamentary
          committee. Only after weeks of lobbying did the country's police remove Mr Browder from
          their database. Germany, France and Britain have also publicly snubbed Russia's request.

          Interpol notes that its constitution prohibits "activities of a political, military, religious or
          racial character"; governments are not supposed to use it to settle scores with their
          opponents. Nevertheless its "Red Notices", which seek the discovery and arrest of wanted
          persons for extradition, are open to abuse. Once issued, a Red Notice encourages-though it
          does not oblige-190 countries to detain the person named. 8,136 were given out last year, an
          increase of 160% since 2008. Interpol insists that it is not a judicial body: "queries"
          concerning allegations are "a matter for the relevant national authorities to address".

          But Mr Browder's case is just one of many arousing controversy. Three years ago Algeria
          issued a Red Notice against Henk Tepper, a Canadian potato farmer, in a row involving
          export paperwork and suspect spuds. He was released in March after a year in a Lebanese
          jail and wants to sue the Canadian government for not protecting his rights. Interpol took 18
          months to accept that the Red Notice issued against Patricia Paleo, a Venezuelan
          investigative journalist, by her government was politically motivated. Indonesia pursued
          Benny Wenda, a West Papuan tribal leader who ended up marooned in Britain; Belarus
          hounded an opposition leader, Ales Michalevic, when he fled to Poland.

          Russia seems particularly fond of the tactic. It has targeted political refugees, such as Petr
          Silaev, an environmental protester, and Anastasia Rybachenko, a student activist now
          stranded in Estonia. She says Interpol is being used to "undermine democracy". During

   http://www .economist.com/node/21589901/pri nt                                                                 1/2




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   1/18/2015                                       Abusing Interpol : Rogue states I The Economist

          recent elections in Estonia, Russia also reissued a Red Notice for Eerik-Niiles Kross, a
          politician and former spymaster who has long been a Kremlin bugbear.

          Fair Trials International, a campaigning group, wants Interpol to have greater powers to vet
          "abusive, incomplete or inaccurate" arrest requests before they are sent to police forces
          around the globe. Though all Red Notices are issued to law-enforcement agencies, fewer
          than half are then made public. That makes it hard to challenge them in advance, or to
          prepare a defence in the event of a surprise arrest at a foreign airport. Fair Trials also wants
          an independent body to hear appeals instead of the Commission for the Control of Interpol's
          Files, which it says is too secretive.

          Bi11y Hawkes, the commission's chairman, says its decisions in individual cases are formally
          only recommendations to Interpol's General Secretariat. He admits that aspects of its
          activities are "unsatisfactory", but argues that for a possible innocent person, having a Red
          Notice spread over the internet would be worse than issuing it in secret.

          Dominic Raab, a British MP, worries that diplomatic expediency is compromising citizens'
          rights. Ken-Marti Vaher, Estonia's interior minister, decries requests of "a dubious nature"
          made to Interpol, and points out that Russia has failed to accept any of his country's offers
          to help investigations concerning Mr Kross. Mark Stephens, a British lawyer, says few
          governments are protesting about abuse because no one wants to be seen taking the side of
          criminals. At present, he says, challenging Red Notices is like a "game of battleships": the
          defence is shooting in the dark, unaware of the size and scope of the target.

           From the print edition: International




   http://www.economist.com/node/21589901/print                                                                  212




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   1/1812015                                                            Notices I INTERPOL expertise I Internet I Home - INTER POL

    Notices
    INTERPOL Notices are international requests for cooperation or alerts allowing police in member countries lo share critical crime-related infonmation.

    Notices are published by INTERPOL's General Secretariat al the request of National Cen tral Burea us (NCBs) and authorized entities. and can be published in any of the
    Organiza ti on's official languages: Arabic, English, French and Spanish.

    In the case of Red Notices , the persons concerned are wanted by national jurisdictions for prosecution or to serve a sentence based on an arrest warrant or court decision.
    INTERPOL's role is to assist the national police forces in identifying and locating these persons w ith a view to their arrest and extradition or similar lawful action .

    In addition, Notices are used by lhe United Nations, International Criminal Tribunals and the International Criminal Court to seek persons wanted for committing crimes within
    their jurisdiction, notably genocide , war crimes , and crimes against humanity.

    Types of Notice

                          Red Notice                                                                                                      Yellow Notice
                          To seek the location and arrest of wanted persons with a view to extradition or similar                         To help locate missing persons, often minors, or to help
                          lawful action.                                                                                                  identify persons who are unable to identify themselves.


                                                                                                                      I '; 11 I\ I'! JI

                                                                                                                       YELLO \\'
                                                                                                                       N Ol l C I

                          Blue Notice                                                                                                     Black Notice
                          To conect additional information about a person's identity, location or activities in                           To seek information on unidenUfied bodies.
                          relation to a crime.




                          Green Notice                                                                                                    Orange Notice
                          To provide warnings end intelligence about persons who have committed criminal                                  To warn of an event, a person, an object or a process
                          offences and are likely to repeat these crimes in other countries .                                             representing a serious and imminent threat to pubfic
                                                                                                                                          safely.




                          INTE RPOL-Un ited Nations Sec urity Coun cil Spec ial Not ice                                                   Purple Notice
                          Issued for groups and individuals who are the targets of UN Security Council Sanctions                          To seek or provide information on modi operandi, objects,
                          Committees.                                                                                                     devices and concealment methods used by crim inals.




    Publication
    Only those notices approved for public dissemination appear on this webslle (the full list of Notices is available to authorized users via INTERPOL's Information System).

    Any individual who is subject to an INTERPOL Notice should be considered innocent until proven guilty.

    Any unauthorized alleration of any portion of any INTERPOL Notice is considered as a violation and subject to legal prosecution.

    Legal basis
    A Notice is published only if it fulfils all conditions for processing the infonmation . For example, a Notice will not be published if it violates Article 3 of the INTER POL Conslitulion ,
    which forbids the Organization from undertaking any interv'ention or activities of a political, military, religious or racial character.

    Notices are processed in line with iNTERP OL's Rules on Ill e Processing of Data , which ensure the legality and quality of infonmation , and the protection of personal data .

    The legal basis for a Red Notice is an arrest warrant or court order issued by the judicial authorities in the country concerned . Many of INTERPOL's member countries consider
    a Red Notice to be a valid request for provisional arrest.

    Furthermore, INTERPOL is recognized as an official channel for transmitting requests for provisional arrest in a number of bilateral and multilateral extradition treaties, including
    the European Convention on Extradition, the Economic Community of West African States (ECOWAS) Convention on Extradition , and the United Nations Model Treaty on
    Extradition.

    Diffusions
    Similar to the Notice is another request for cooperation or alert mechanism known as a 'diffusion'. This is less formal than a notice but is also used to request the arrest or
    location of an individual or additional infonmation in relation to a police investigation. A diffusion is circulated directly by an NCB to the member countries of their choice , or to
    the entire INTERPOL membership and is simultaneously recorded in INTERPOL's lnfonmation System.



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  http://www.interpol.int/layout/set/print/INTERPOL-expertise/Notices                                                                                                                                 1/1




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                                                    To: R.R. Gabdulin, Counsellor in Justice,
                                                        Major Cases Investigator, First Section,
                                                        Major Economic Crimes Investigation
                                                        Department, Central Investigations
                                                        Department, RF Investigations
                                                        Committee

                                                    Fm: Vitaliy Ivanovich Smagin
                                                        19 Berzarin St., Bldg. 1, Apt. 103
                                                        Moscow

                                                           For Criminal Case No. 201/355137-10


                                             APPLICATION


                Considering that by his illegal actions A.G. Yegiazaryan committed a theft of my
        property – 20% of the shares in Centurion Alliance CJSC, with a nominal value of RUB
        4,600,000, the market value of which is presently RUB 1,575,500,000 (one billion five
        hundred seventy five million five hundred thousand rubles), i.e., by his illegal acts
        inflicted property damage on me, I request that you accept and include my civil claim
        (statement of claim) in the criminal case file.

        Attachment: Civil claim on 6 pages


                                     [signature]             V.I. Smagin

        12 November 2010

                                             [signature]

                                             [signature] R.V. Markaryan, Attorney


        [seal:] RF Investigations Committee; For Blocks No. 4

        [stamp:] True Copy, Central Investigations Department, RF Investigations Committee,
        Investigator

        [signature]




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                                             To:
                                             R.R. Gabdulin,
                                             Counsellor in Justice,
                                             Major Cases Investigator,
                                             First Section,
                                             Major Economic Crimes Investigation Department,
                                             Central Investigations Department,
                                             RF Investigations Committee

                                             From:

                                             Vitaliy Ivanovich Smagin,
                                             Moscow, ul. Berzarina 19, Bldg. 1, Appt. 103

                                             Criminal Case No. 201/355137-10

                                              Civil Claim
                                      for restitution of property
                                     lost as a result of an offence

             I, Vitaliy Ivanovich Smagin, was the owner of 460 (four hundred and sixty) ordinary
     registered shares in Centurion Alliance Closed Joint Stock Company, with a nominal value of
     RUB 10,000 (ten thousand) each, representing 20% of the company’s stock. Entities
     controlled by A.G. Egiazaryan, Titul CJSC, TD Unikompleks, Milea LLC and Merkhav LLC
     held 73% of Centurion Alliance CJSC shares. A further 7% was owned by A.G.
     Egiazaryan’s business partner, Dmitri Garkusha, who in 2006 was the manager of Daev Plaza
     LLC and the CEO of Dekmos LLC.
             My shares were registered in Personal Account No. 013700 in the Shareholder
     Register maintained by the Registrars, STATUS Registration Company CJSC.
             In 2006, Ashot Gevorkovich Egiazaryan was also involved in the implementation of
     commercial projects in other business areas, and in particular, acting through the companies
     under his control, Decorum CJSC and Dekmos OJSC, in the construction of the Hotel
     Moskva, and was therefore in need of funds, and consequently engaged in raising loans.
             At one of our meetings held at the Daev Plaza Business Centre, Moscow, Daev
     Pereulok 20, in November 2006, A.G. Egiazaryan suggested that I sell him my 20%
     shareholding. I refused, because the price offered by A.G. Egiazaryan was a whole order of
     magnitude below a realistic price. At that time, we had good offers for the shares from third
     parties, but A.G. Egiazaryan did not want to sell his own shares, but wanted to acquire my
     shareholding instead. A.G. Egiazaryan told me that he needed all Centurion Alliance CJSC
     shares, to offer as security to Deutsche Bank from which his company was allegedly to obtain


     [seal:] RF Investigations Committee; For Blocks No. 4
             [stamp:] True Copy, Central Investigations Department, RF Investigations Committee,
                                                                          Investigator [signature]

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     a loan of USD 100 million for the renovation of Hotel Moskva.
             Subsequently A.G. Egiazaryan and Dmitri Garkusha told me at one of our meetings
     held at the Daev Plaza in Moscow around the end of November or early December 2006 that
     Deutsche Bank was willing to grant a loan not strictly for the construction of Hotel Moskva,
     but against a guarantee of Europark as a liquid asset. This was in spite of the fact that they
     would in reality use the money to renovate Hotel Moskva.
             During our association, A.G. Egiazaryan spent a long time persuading me to join the
     scheme, allegedly proposed by Deutsche Bank, at least by transferring my 20% shareholding
     in Centurion Alliance CJSC temporarily (for one year) as security for the loan, none of which
     would be received by Centurion Alliance CJSC itself. I, naturally, refused. A.G. Egiazaryan
     continued to insist, saying that my property would not be endangered in any way, that he
     personally would be assuming all the risk and that I could count on participating in his Hotel
     Moskva project and on receiving an additional shareholding in Centurion Alliance CJSC if I
     agreed to transfer my shares on a temporary basis to the Deutsche Bank depository as
     security for the loan. After much persuasion, I expressed my tentative agreement, but
     insisted on all documents and agreements being made in writing, and on involving good
     lawyers.
             At my next meeting with A.G. Egiazaryan and Dmitri Garkusha, which took place
     approximately in November 2006 in Moscow, A.G. Egiazaryan told me that his partner,
     Dmitri Garkusha, owned a Cypriot company, Blidensol Trading and Investment Ltd, which
     had obtained a loan of USD 100 million from Deutsche Bank. A.G. Egiazaryan said that
     under a scheme approved by Deutsche Bank the latter wanted to receive as security the shares
     of Centurion Alliance CJSC and all the assets of Europark, of which I held a 20% share, but
     that the bank allegedly did not want the 20% to be held either by me personally or by any
     Russian legal entity or individual at the time of their pledge. To achieve this, according to
     A.G. Egiazaryan, the package would be structured in the following way: I, as well as the
     other shareholders, would sell my shares to the Cypriot company, Doralin Trading and
     Investments (“Doralin”) at their nominal value. This company too was a Joint Stock
     Company established by Cypriot citizens, with Garkusha holding an unlimited power of
     attorney to act as its manager until October 2009. 100% of Doralin shares would in turn be
     acquired by Tufts Invest and Trade Inc. (incorporated in British Virgin Islands, “Tufts”),
     whereupon shares in Tufts would be distributed exactly as in the case of Centurion Alliance
     CJSC, i.e. A.G. Egiazaryan would hold 73%, Dmitri Garkusha 7%, and I would hold 20%.
             A.G. Egiazaryan said that he would inject a Cypriot company which he controlled,
     Kalken Holdings Ltd (“Kalken”) into Tufts. Kalken too is a Cypriot company whose
     directors are Cypriot citizens, but I don’t know who the founders are. However, unlimited

     [seal:] RF Investigations Committee; For Blocks No. 4
             [stamp:] True Copy, Central Investigations Department, RF Investigations Committee,
                                                                          Investigator [signature]

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     power of attorney to act as manager of this company has been issued in the name of Artem
     Egiazaryan.
              Since I had in no way participated in the use of the Deutsche Bank loan, I was against
     participating in any scheme and insisted on all relationships being strictly regulated by
     written documents.
              Ultimately, after protracted negotiations, A.G. Egiazaryan promised that he would
     comply with the following mandatory requirements: I would transfer my shares to Doralin
     only on the condition that I would be able to control those assets through my participation in
     Tufts, and in any case would do so for not longer than one year, that all documents would be
     signed simultaneously and that we, the shareholders, would sign an agreement with one
     another and with the participation of Deutsche Bank, which would act as performance
     guarantor. A.G. Egiazaryan said that he understood my concern about risking my right to my
     20% holding in the Europark project, but assured me that nothing threatened my property,
     that in any case I would retain the 20%, since if Blidensol (the borrower under the Deutsche
     Bank loan) defaulted, he, A.G. Egiazaryan, granted me and me alone the right to sell his
     (A.G. Egiazaryan’s) 73% shareholding, which, according to an official valuation, was worth
     more than the loan commitment. In addition, A.G. Egiazaryan assured me that in Tufts no
     document would have legal validity without my signature, and that we would draw up the
     necessary documents to ensure that this would be the case.
              In addition, A.G. Egiazaryan suggested that I should take part in the actual control of
     the operations of Centurion Alliance CJSC, which was something I did not have before, and
     could therefore not count on a fair distribution of dividends. For this purpose, A.G.
     Egiazaryan proposed amending the Charter of Centurion Alliance CJSC, making me
     Chairman of the Board and introducing the position of a First Deputy CEO, who would be
     appointed not by the CEO but by the Board of Directors and would therefore in fact be my
     own man. He also agreed to my suggestion that the Charter should limit the CEO’s right to
     enter into transactions for amounts exceeding RUB 5 million, requiring a second signature,
     that of the First Deputy CEO, for transactions of this size.
              The shareholders included the agreements they had reached in a Shareholder
     Agreement signed on 26 December 2006, executed with the participation of Deutsche Bank
     on the basis of an Escrow Agreement whereby Deutsche Bank acted as guarantor of the
     shareholders’ performance of their obligations under the Agreement.
              Under the terms of the shareholder agreements, the loan granted by Deutsche Bank to
     Blidensol was to be secured on all documents enabling the bank to have non-judicial recourse
     against the shares of Doralin, Centurion Alliance CJSC and the Europark property portfolio.



     [seal:] RF Investigations Committee; For Blocks No. 4
             [stamp:] True Copy, Central Investigations Department, RF Investigations Committee,
                                                                          Investigator [signature]

 Ashot Yegiazaryan Decl., Exhibit 3,                                                               3
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     In particular, Deutsche Bank was to be given custody of Tufts transfer orders relating to
     Doralin shares.
              Further, under the terms of the Shareholder Agreement of 26.12.2006 and of the
     Escrow Agreement, A.G. Egiazaryan was required to transfer to Deutsche Bank for
     temporary custody in its capacity as an independent agent the 73% of Tufts shares formally
     held by Kalken.
              Having drawn up all the documents and obtained the loan, A.G. Egiazaryan violated
     the agreement and refused to transfer his 73% of Tufts shares to Deutsche Bank.
              In approximately March or April 2008 at my insistence A.G. Egiazaryan and I signed
     an agreement concerning his compliance with the 2006 agreements on the transfer of 73% of
     the Tufts shares into the custody of Deutsche Bank and the signature of a new Escrow
     Agreement with Deutsche Bank. In addition, A.G. Egiazaryan promised to require Tufts and
     Blidensol to include my signature on all order documents as a second signature and to
     instruct his business units and lawyers to transfer 50% of Blidensol shares into my name at
     their nominal value. Of these promises, I was granted the right of second signature on behalf
     of Tufts on the disposal of the assets (shares) of Doralin, alongside Artem Egiazaryan. None
     of the other promises were kept.
              Blidensol did not fulfil its obligation to repay the loan to Deutsche Bank, and the
     latter therefore suggested to me that I buy out the loan, find a buyer for it and obtain a claim
     on the pledged assets, as set out in the shareholder agreements. However, since Deutsche
     Bank lost some of the security documentation giving it the right to extrajudicial recourse
     against Doralin shares, the purchaser of the claim would lose the right to acquire Doralin
     shares in an extrajudicial procedure if Blidensol defaulted.
              On 8 December 2006, Centurion Alliance CJSC also signed a loan agreement for
     approximately RUB 1.5 billion with Blidensol, but this sum did not involve Deutsche Bank
     money, instead representing the accumulated pre-existing loans. Chechem, a company
     owned by Dmitri Garkusha, and other foreign creditors of Centurion Alliance CJSC sold their
     right of recourse under loan agreements signed by Blidensol, also owned by Dmitri
     Garkusha, for 1 USD. Thereafter, as noted above, Centurion Alliance CJSC and Blidensol
     signed a loan (novation) agreement for the sum total of the existing loan agreements,
     amounting to RUB 1.5 billion. This was done to ensure that Centurion Alliance CJSC would
     repay the loan not to Chechem, but to Blidensol, which was the recipient of the Deutsche
     Bank loan and should have used the money received from Centurion Alliance CJSC to repay
     the interest on that loan.




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                                                                          Investigator [signature]

 Ashot Yegiazaryan Decl., Exhibit 3,                                                               4
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             Subsequently, A.G. Egiazaryan and D.V. Garkusha came to blows, and A.G.
     Egiazaryan, taking advantage of the fact that he could manage Centurion Alliance CJSC and
     Blidensol through his own people, acted without my consent and changed the currency of the
     loan agreement from RUB to USD and the interest rate from 1% first to 12% and then to 22%
     p.a. In this way, the debt owed by Centurion Alliance CJSC to Blidensol was artificially
     inflated. In addition, according to the agreement Centurion Alliance CJSC owed RUB 160
     million to Daev Plaza LLC, a company controlled by Egiazaryan. It was Daev Plaza LLC
     which petitioned the Moscow Arbitration Court in May 2009 to declare Centurion Alliance
     CJSC bankrupt, which clearly influenced Deutsche Bank’s decision to assign its rights under
     the loan agreement to any willing buyer as soon as possible. However, in May 2009 the
     Europark Shopping Centre, owned by Centurion Alliance CJSC, was making a profit
     sufficient to repay all outstanding debt.
             Since A.G. Egiazaryan did not hand over the Doralin share transfer orders to
     Deutsche Bank, I myself prepared the transfer orders and forwarded them in September 2009
     to A.G. Egiazaryan’s e-mail address for his signature. I received absolutely no response from
     A.G. Egiazaryan. The transfer orders were also not signed by Artem Egiazaryan, who was
     the second director of Tufts and whose signature was required to ensure the validity of
     transfer orders under the Tufts management procedures. He did not sign, not having been
     instructed to do so by his brother, A.G. Egiazaryan.
             In mid-2009, I began to notice that Centurion Alliance CJSC was involving itself in
     shady deals, that payments of over RUB 5 million were being made without my knowledge
     and that pressure was being exerted on personnel loyal to me. After I had filed a report on
     the misappropriation of Centurion Alliance CJSC assets with the militia, I was forbidden
     access to the offices of the Europark Shopping Centre, and everyone was told that I no longer
     had any standing in the company. None of my orders or the orders of the First Deputy CEO
     were carried out, and subsequently a number of people were wrongly dismissed, including
     the Chief Accountant and the First Deputy CEO. The wrongly dismissed employees were
     reinstated by the court, but were not allowed to work.
             Having suspected that an attempt was being made to misappropriate my property, in
     the spring of 2010 I sent an enquiry to the Cyprus Independent Joint Stock Companies
     Registration Office asking for information about the shareholders and directors of Doralin.
     This was the company to which I had nominally “sold” my shares in Centurion Alliance
     CJSC in December 2006 at the insistence of A.G. Egiazaryan, in order to own them in the
     same proportion through Tufts. In 2006-2007 I received documents confirming that Tufts




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                                                                          Investigator [signature]

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     owned 100% of Doralin shares, so that as the owner of 20% of Tufts shares I was the indirect
     owner of 20% of Doralin shares, and thus of 20% of the shares of Centurion Alliance CJSC,
     i.e. of 20% of the property of Europark, which was the sole asset of these companies.
              Having received official responses from Cyprus I discovered that Doralin was no
     longer owned by Tufts, as we had agreed with A.G. Egiazaryan in 2006, and in which I had a
     20% shareholding, but by two other companies – Mastero Investment Limited of Cyprus and
     Famukatos Limited of Cyprus, each with a 50% holding.
              It further followed from the report I received that Doralin now had different directors,
     which were New Generation Services Ltd, incorporated in the British Virgin Islands, and a
     Russian national, Elena Demina, registered in Kaluga at Grabtsevskoye shosse 90, Appt. 22.
              However, I never signed any documents about the sale of Doralin shares by Tufts, and
     never gave my consent to the disposal of my assets either to Ashot Egiazaryan or to Samuel
     Karapetyan, to their representatives or companies.
              I therefore believe that the above plan was devised by A.G. Egiazaryan to
     misappropriate my property consisting of 20% of the shares of Centurion Alliance CJSC with
     a nominal value of RUB 4,600,000 and a current market value of RUB 1,575,500,000 (one
     billion five hundred and seventy five million five hundred thousand) rubles, and that his
     unlawful actions have caused the loss of my property.
              Based on the above and guided by Art. 44 of the RF Code of Criminal Procedure, I
     petition the Court to recover from the guilty parties the sum lost by me as a direct result of
     their offence and amounting to RUB 1,575,500,000 (one billion five hundred and seventy
     five million five hundred thousand) rubles.

                                           [signature]             V.I. Smagin
     12 November 2010

                                           [signature]            [illegible] R.V.
                                                                          Attorney




     [seal:] RF Investigations Committee; For Blocks No. 4
             [stamp:] True Copy, Central Investigations Department, RF Investigations Committee,
                                                                          Investigator [signature]

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